Case 15-53334-crm       Doc 2    Filed 02/23/15 Entered 02/23/15 10:15:09              Desc Main
                                 Document Page 1 of 1




                                               Certificate Number: 15317-GAN-CC-025056095


                                                              15317-GAN-CC-025056095




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 22, 2015, at 11:14 o'clock AM PST, Kellie M King
received from Access Counseling, Inc., an agency approved pursuant to 11 U.S.C.
§ 111 to provide credit counseling in the Northern District of Georgia, an
individual [or group] briefing that complied with the provisions of 11 U.S.C. §§
109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 22, 2015                      By:      /s/Nathan Contratista


                                               Name: Nathan Contratista


                                               Title:   Certified Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
